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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                           Chapter 11
In re:
                                                           Case No. 17-10570(BLS)
Bostwick Laboratories, Inc., et al.,~
                                                           (Jointly Administered)
                 Post-Effective Date Debtors.
                                                           Objection Deadline: September 25,2018 at 4:00 p.m.
                                                           IIearing Date: October 25,2018 at 11:00 a.m.


     CREDITORS RECEIVII~IG THIS OMNIBUS OBJECTION TO CLAIMS SHOULD
    LOCATE TI~EIR NAMES AND THEIR CLAIMS)IN THE ATTACHED EXHIBITS.

         YOUR RIGHTS MAY ~3E ~FrECTED BY THIS OBJECTION AND BY
    ANY FURT~IER OBJECTION THAT 1VIAY SE FILED AGAINST YOUR CLAIM(S).


                   PLAN ADMINISTRATOR'S T~-TIRO OMNIBUS
            (NON-SUBSTANTIVE)OBJECTION TO CERTAIN(A)AMENDED
             AND SUPERSEDED CLAIMS AND(B)NO LIABILITY CLAIMS

         James P. Carroll, solely in his capacity as the plan administrator (the "Plan

Administrator") for the above-captioned post-effective date debtors (the "Debtors"), hereby files

this objection (the "Objection"), pursuant to section 502 of title 11 of the United States Code (the

"Bankruptcy Code"), Rules 3007 and 9014 of the Federal Rules of Bankruptcy Procedure (the

"Banlcru~tcy Rules"), and Rule 3007-1 of the Local Rules for the United States Bankruptcy

Court for the District of Delaware (the "Local Rules"), seeking entry of the order (the "Proposed

Order"), substantially in the form attached hereto as Exhibit A, disallowing and expunging the

Amended and Superseded Claims (as defined below) and No Liability Claims (as defined

below). In support of this Objection, the Plan Administrator submits Exhibits 1 and 2 attached to



'The Post-Effective Date Debtors are the following entities (last four digits ofEIN in parentheses):(i) Bostwick
Laboratories, Inc., a Delaware corporation (3169); and (ii) Bostwick Laboratories Holdings, Inc., a Delaware
corporation (1042). The current mailing address for the Post-Effective Date Debtors is James P. Carroll as the Plan
Administrator, c/o Carroll Services LLC,4450 Bonita Beach Road, Suite 9, Bonita Springs, FL 34134.



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the Proposed Order (collectively, the "Claims," and individually, a "Claim") and the Decla~°anon

ofJames P. Cc~rNoll(the "Carroll Declaration"), a copy of which is attached hereto as Exhibit B.

In further support of this Objection, the Plan Administrator respectfully represents as follows:

                                      JURISDICTION AND VENUE

        1.      This Court has jurisdiction to consider this Objection pursuant to 28 U.S.C.

§§ 157 and 1334. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        2.      The statutory predicates for the relief requested herein are Bankruptcy Code

Section 502, Bankruptcy Rules 3007 and 9014, and Local Rule 3007-1.

                                 PROCEDURAL BACKGROUND

        3.      On March 15, 2017 (the "Petition Date"), the Debtors each filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code (the "Chapter 11 Cases"). The

factual background regarding the Debtors, including their business operations, their capital and

debt structures, and the events leading to the filing of the Chapter• 11 Cases, is set forth in detail

in the Declaration ofTammy Hunt in Support ofChapter 11 Petitions and First Day Pleadings,2

fully incorporated herein by reference.

        4.       On March 23, 2017, the United States Trustee for the District of Delaware

appointed an Official Committee of Unsecured Creditors.3 No trustee or examiner was requested

or appointed in the Chapter 11 Cases.

         5.      On July 11, 2017, the Debtors initiated a process to confirm a chapter 11 plan (as

amended, the "Plan").4 The Court entered an order on (i) August 1, 2017 approving the Debtors'




2 Dkt. No. 3.
 Dkt. No. 84.
4 Dkt. Nos. 383, 384,449 and 547-1.
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combined chapter 11 plan and disclosure statement for solicitation purposes,s and (ii) September

15, 2017 confirming the Plana The effective date of the Plan occurred on October 2, 2017.

        6.           The Plan Administrator was appointed under Article X of the Plan to, among

other things, reconcile and object to proofs of claim as necessary, complete the liquidation and

distribution of the Debtors' assets to creditors, and otherwise wind up the affairs of each of the

Debtors.$

         7.          O~ April ~, 2018, t ie Caui-t gra~~te~ that certain Motion ofPlan Adfninist~~ato~,fog

Entry ofan ONde~ Extending the Claims Objections Deadline and set a new claims objection

deadline under the Plan through and including September 25, 2018.9

         8.          On May 10, 2018, the Court granted the Plan Administrator's First Ornnzbus

(Non-Substantive) Objection to Certain (A) Duplicate and(B)Aryeended and SupeNseded

Claims.~ °

         9.          On May 29, 2018, the Court granted the Plan A.dministrato~'s Second Omnibus

(Substantive) Objection to Certain (A) Misclassified Claim,(B) No Iiabilzry Claims,(C)
                                                      Claims.l l
Superseded Claims and(D)Reduce and Allow

                                           RELIEF REQUESTED

         10.         By this Objection, the Plan Administrator objects to the Claims set forth on

Exhibits 1 and 2 attached to the Proposed Order and, for the reasons described below, seeks entry

of the Proposed Order, pursuant to Bankruptcy Code section 502, Rules 3007 and 9014 of the

5 Dkt. No. 446.
~ Dkt. No. 547.
 Dkt. No. 560.
$ Plan; at Art. X.
~ Dkt. No. 646.
10 Dkt. No. 654.
"Dkt. No. 661.
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Bankruptcy Rules, and Local Rule 3007-1, disallowing and expunging the respective Claims as

set forth below.

A.      Amended and Superseded Claims

         11.       The Plan Administrator has identified certain Claims that amend and supersede

other Claims filed against the Debtors (collectively, the "Amended and Superseded Claims"). A

list of the Amended and Superseded Claims is set forth on Exhibit 1 attached to the Proposed

Order under the ri~ading ial~eled "Scheduled ar riled Maim to be Disallowed." The Plan

Administrator has identified the related Claims that will remain if the Court grants this Objection

(the "Remainin C~ laim") under the heading labeled "Remaining Claim Number."

         12.      The claimants holding Amended and Superseded Claims will not be prejudiced by

having their respective Amended and Superseded Claims disallowed and expunged because their

Remaining Claims will remain on the claims register after the corresponding Amended and

Superseded Claims are expunged.

         13.      Accordingly, the Plan Administrator objects to the Amended and Superseded

Claims and seeks entry of the Proposed Order disallowing and expunging such claims, subject to

the Debtors' further objections on any other grounds to such claims.

S.       No Liability Claims

         14.       Section 502(b)(1) of the Bankruptcy Code provides that a claim asserted in a

proof of claim shall be allowed, except to the extent "such claim is unenforceable against the

debtor and property of the debtor, under any agreement or applicable law ...." 11 U.S.C. §

502(b)(1).

         15.      The Plan Administrator has identified certain Claims listed on Exhibit 2 attached

to the Proposed Order that are unreconcilable with the Debtors' books and records (collectively,




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the "Na Liability Claims"). More specifically, and as explained further in the column labeled

"Reason for Disallowance" on Exhibit 2, the Plan Administrator believes that the No Liability

Claims are invalid because:(i) the books and records do not reflect a liability or there is a

scheduled liability of zero due and owing by any Debtor with respect to such claims, and/or (ii)

such claims are not enforceable against the Debtors or their property under any agreement or

applicable law.

         16.     Accordingly, the Plan administrator objects io the No Liability Maims and seeks

entry of the Proposed Order disallowing and expunging such claims, subject to the Debtors'

further objections on any other grounds to such claims.

                               SEPARATE CONTESTED MATTERS

         17.      To the extent that a Response(as defined below) is filed regarding any of the

Claims that are the subject ofthis Objection and the Plan Administrator is unable to resolve such

Response, each such Claim, and the Objection to each such Claim as asserted herein, shall

constitute a separate contested matter as contemplated by Bankruptcy Rule 9014. Any order

entered by the Court regarding any Claim that is subject to this Objection shall be deemed a

 separate order with respect to such claim.

                              RESPONSES TO OIVINIBUS OBJECTION

         18.      To contest an objection, a claimant must file and serve a written response to this

 Objection (a "Response") so that it is received by the Court and counsel for the Plan

 Administrator no late- than September 25,2018 at 4:00 p.m.(the "Response Deadline")

 Every Response must be filed with the Office of the Clerk of the United States Bankruptcy Court

 for the District of Delaware at 824 Market Street; 3rd Floor, Wilmington, Delaware 19801,and          ---




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served upon the following, so that the Response is received no later than the Response Deadline

at the following addresses:

Colin R. Robinson                                  Malani J. Cademartori (admitted pNo hac vice)
Pachulski Stang Ziehl &Tones LI,P                  Sheppard, Mullin, Richter &Hampton LLP
919 North Market Street, 17th Floor                30 Rockefeller Plaza
1313 N. Market Street                              New York, New York 10112
Wilmington, Delaware 19899-8705                    Telephone:(212)653-8700
Telephone:(302)778-6426                            Facsimile:(212)653-8701
Facsimile:(302)652-4400                            Email: mcademartori@sheppardmullin.com
Email: crobinson@pszjlaw.com

        19.      Every Response to this Objection must contain at a minimum the following

information:

              a. A caption setting forth the name of the Court, the name of the Debtors, the
                 case number, and the title of the Objection to which the Response is directed;

              b. The name of the claimant, his/her/its claim number;

              c. The specific factual basis and supporting legal argument upon which the
                 claimant will rely in opposing this Objection;

              d. Any supporting documentation, to the extent it is not included in the proof
                 of claim previously filed with the claims agent, upon which the claimant
                 will rely in order to support the basis for and amounts asserted in the proof
                 of claim; and

                 The name, address, telephone number, and fax number ofthe persons)
                 (which must be the claimant or the claimant's legal representative) with
                 whom counsel for the Plan Administrator should communicate with
                 respect to the Claim or the Objection and who possess _authority to
                 reconcile, settle, or otherwise resolve the objection to the disputed Claim
                 on behalf of the claimant.

                                    REPLIES TO ~tESI'ONSES

        20.      Consistent with Local Rule 9006-1(d), the Plan Administrator may, at his option,

file and serve a reply to a claimant's response, if any, no later than 4:00 p.m.(prevailing eastern

time) one day prior to the deadline for filing the agenda to consider this Objection.



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                                     RESERVATION OF RIGHTS

        21.      The Plan Administrator hereby reserves the right to assert additional objections in

the future to any of the proofs of claim and/or Claims identified in this Objection or on Exhibits

1 and 2 attached to the Proposed Order on any ground, and to amend, modify, and/or supplement

this Objection, including, without limitation, to object to amended or newly-filed claims. A

separate hearing wi11 be scheduled on any subsequently tiled cbjectioi3.

                              COMPLIANCE WITH LOCAL RULE 3007-1

        22.       To the best of the knowledge and belief of the undersigned counsel for the Plan

Administrator, this Objection and the related Exhibits A and B comply with Local Rule 3007-1.

To the extent that this Objection does not comply in all respects with the requirements of Local

Rule 3007-1, the undersigned believes such deviations are not material and respectfully requests

that any such requirement be waived.



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        WHEREFORE,the Plan Administrator respectfully requests that the Court(a) enter an

order granting the relief requested herein, substantially in the form of the Proposed Order

attached hereto as Exhibit A; and (b) grant such other and further relief to the Debtors as the

Court may deem just and proper•.

Dated: September 11, 2018                   PACHULSKI STANG ZIEHL &JONES LLP
       Wilmington, Delaware
                                            /s/ Colin R. Robinson
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                                            Wilmington, Delaware 19899-8705 (Courier
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                                            - and -

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